
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on March 4, 1980, 380 So.2d 1107, reversing the judgment and sentence of the Circuit Court for Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida, 403 So.2d 954, by its opinion and judgment filed July 23, 1981 and mandate now lodged in this court, affirmed in part and reversed in part.
NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued in this cause on March 20, 1980 is withdrawn the judgment of this court filed in this cause on March 4, 1980, except as is affirmed by the judgment of the Supreme Court dated July 23, 1981, is vacated and the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court. The judgment and sentence appealed from herein is reversed in part and affirmed in part and the cause is remanded to the trial court for a new trial on the charge of simple battery. Costs allowed shall be taxed in the trial court (Rule 9.400 a Florida Rules of Appellate Procedure).
